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                         EXHIBIT 1
Case 1:23-cv-11195-SHS-OTW                     Document 205-1               Filed 08/12/24           Page 2 of 14


From:             Alex Frawley (via NYT-AI-SG-Service list)
To:               Sexauer, Kenneth Edward
Cc:               NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI; openaicopyrightlitigation.lwteam@lw.com;
                  OpenAICopyright; NewYorkTimes Microsoft OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR; Ranieri, Vera;
                  Nikolaides, Eric K.; Elana.NightingaleDawson@lw.com; Chad.Kenney@lw.com; Catherine C. Porto
Subject:          RE: NYT v. Microsoft et al.
Date:             Wednesday, July 24, 2024 8:39:17 PM
Attachments:      image001.png


EXTERNAL Email
Counsel,
I write to follow up on Monday’s call about The Times’s proposal for additional OpenAI
custodians. As stated in my July 16 email, we expected that, by Monday’s call, OpenAI would
take a firm position on which custodians OpenAI is willing to add. Although The Times made
its initial custodian proposal over a month ago, and a revised proposal on July 3, OpenAI has
still not taken a firm position on any custodian. OpenAI also on Monday for the first time
suggested that it may propose a specific number of additional custodians and then allow The
Times to select which custodians to add. The Times rejects that approach to selecting
custodians. As we have explained many times, including in our filing on the disputed ESI
Order, any disputes about custodians should be resolved on a custodian-by-custodian basis,
without any artificial cap and without tying OpenAI’s custodians to The Times’s custodians.
OpenAI also on Monday for the first time requested additional information about why The
Times is proposing these specific custodians. If OpenAI needed more information for any
custodian, it could have asked over a month ago when The Times made its proposal. In any
event, to move this forward, The Times below provides additional information to support its
proposal. Please let us know by Monday, July 29, whether OpenAI will add any of these
custodians. The Times intends to move to compel any custodians whom OpenAI does not
agree to add.
Individuals on the below list with an asterisk are new individuals The Times is proposing
based on The Times’s review of Defendants’ document productions, which demonstrates that
these individuals should also be custodians.

                1.      Individuals Whom OpenAI Has Identified

OpenAI should add as custodians the following individuals whom OpenAI has identified as
having relevant knowledge and information.

        Henrique Ponde de Oliveira Pinto (identified in OpenAI’s initial disclosures as someone
        “likely to have knowledge regarding technical aspects of ChatGPT, including design,
        development, and operation”)
        Vinnie Monaco (identified in OpenAI’s interrogatory responses as being “responsible
        for the relevant exclusion, filter and safety features it uses in connection with models
        that have powered ChatGPT”)
        Peter Welinder (identified in OpenAI’s initial disclosures as someone “likely to have
        knowledge regarding OpenAI’s marketing materials and intentions for ChatGPT”)
        Lillian Weng (identified in OpenAI’s interrogatory responses as being “responsible for
        the relevant exclusion, filter and safety features it uses in connection with models that
        have powered ChatGPT”)

                2.      Key Executives
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Case 1:23-cv-11195-SHS-OTW            Document 205-1        Filed 08/12/24     Page 5 of 14


T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Tuesday, July 16, 2024 4:06 PM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.


External Email




Counsel,
As mentioned on yesterday’s call, we would like to have another call this week to discuss our
custodian proposal to OpenAI. Does Friday at the same time work (10:30 am ET)?
On or before the next call, we ask that OpenAI be prepared to identify which custodians that
OpenAI is willing to accept and which it is not. OpenAI should have been ready to provide
that information during yesterday’s call, at the latest. The Times made its initial custodian
proposal on June 14, which OpenAI rejected without making any counter-proposal. The Times
made a revised proposal on July 3, and the parties thereafter scheduled yesterday’s meet and
confer, which took place almost two weeks after The Times made its proposal. OpenAI has no
excuse for not having a firm position on whether it will add any custodians, and if so, whom.
We disagree with OpenAI’s view that our discussions about OpenAI’s custodians should
proceed on the same timeline as any proposal that OpenAI makes for additional Times
custodians. We understand that OpenAI intends to review The Times’s custodial productions
before making its own custodian proposal, but that is no excuse for delaying the parties’
negotiations over OpenAI’s custodians. OpenAI chose to not serve its discovery requests
immediately when discovery opened, as The Times did, which places its discovery timeline on
a different timeline. And The Times has relied on publicly available information to make its
custodian proposal, without full-scale review of OpenAI's productions, because that is what an
orderly discovery process requires. As discovery unfolds, the parties may propose additional
custodians based on information made available through document productions.
In any event, the merits of The Times’s custodian proposal is not tied to any proposal that
OpenAI may make. The Times’s proposal for additional custodians will “produce additional,
non-duplicative documents.” U.S. Bank Nat'l Ass’n v. Triaxx Asset Mgmt. LLC, 2021 WL
3024824, at *1 (S.D.N.Y. July 16, 2021). Each of the requested custodians meets that
standard. To the extent that OpenAI disagrees, then these disputes should be resolved on the
merits, on a custodian-by-custodian basis. Any efforts to tie these discussions together is
divorced from the governing law, and represents delay for the sake of delay.
Please let us know by Friday whether OpenAI agrees to add any of these individuals as
document custodians.
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The Times’s review of OpenAI’s document productions is ongoing, and The Times reserves
the right to amend its custodian proposal.
Best,
Alex



From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Thursday, July 11, 2024 6:43 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.

EXTERNAL Email
Thanks Alex—Monday at 10:30 a.m. ET works for OpenAI.

Best,
Ken

Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Wednesday, July 10, 2024 10:22 PM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.


External Email




How about Monday any time between 10:30 am to 12:30 pm ET, or between 3:30-4:30 pm ET?


From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
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Sent: Wednesday, July 10, 2024 5:51 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.

EXTERNAL Email
Alex,

Apologies, that time (and the time between 10 a.m. and 12 p.m. generally) has since become
unavailable. Are there any other times that could work, including on Monday or Tuesday of next
week?

Best,
Ken

Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Wednesday, July 10, 2024 5:47 PM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.


External Email




Thanks, Ken. Let’s do 10:30. I’ll send an invite to you.


From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Wednesday, July 10, 2024 8:57 AM
To: Alex Frawley <AFrawley@susmangodfrey.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
Case 1:23-cv-11195-SHS-OTW             Document 205-1      Filed 08/12/24   Page 8 of 14


openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.

EXTERNAL Email
Alex,

Any time during that window works for OpenAI.

Best,
Ken

Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Tuesday, July 9, 2024 10:54 AM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.


External Email




Thanks, Ken. How about Friday between 9:30 am and 12:30 pm ET?

Best,
Alex


From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Monday, July 8, 2024 5:36 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
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Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.

EXTERNAL Email
Alex,

Thank you for your response. While we disagree with several statements in your email, we do not
address them here. Instead, we can discuss on a call. OpenAI would be happy to meet and confer
regarding the issues you raised. However, we are not available today or tomorrow. Is your team
available on Thursday or Friday? If so, what times would work?

Best,
Ken


Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Wednesday, July 3, 2024 7:07 PM
To: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Subject: RE: NYT v. Microsoft et al.


External Email




Hi Ken,

The Times has narrowed its proposal for additional OAI custodians to the below list. Will OpenAI
agree to make these individuals custodians? If not, please let us know when you are available for a
meet and confer on Monday or Tuesday.

Sam Altman
Greg Brockman
Mira Murati
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Henrique Ponde de Oliveira Pinto
Peter Welinder
James Betker
Bianca Martin
William (Liam) Fedus
Ryan Lowe
Vinnie Monaco
Lillian Weng
Johannes Heidecke
Daniel Kokotajlo
William Saunders
Ilya Sutskever

Your email below incorrectly suggests the parties have “agreed” to a 10-custodian limit “in the
absence of a court order.” There is no such agreement. It also does not make sense to invoke
OpenAI’s “proposed ESI Order,” which has not been entered. In any event, The Times is making a
request for additional custodians, and if OpenAI does not agree, then we’d like to meet and confer.

Please also let us know when the “additional documents” will be produced for RFP 10. Those
documents should have been produced by the June 14 substantial completion deadline.

The Times is working on a revised search term proposal based on the hit counts you provided, and
we will revert.

Finally, to answer your question below, The Times applied its search terms to email data, mobile
data, Slack data, hard drive data, personal drive data, and LinkedIn data. The timeframes searched
are included in our June 12 hit report that we provided to you. The hit counts have increased since
June 12 due to additional data being processed, and we will be providing an updated report.

Best,
Alex

Alexander P. Frawley | Susman Godfrey LLP
One Manhattan West, 50th Floor | New York, NY 10001
212.729.2044 (office) | 917.599.6613 (cell)
afrawley@susmangodfrey.com | www.susmangodfrey.com


From: Sexauer, Kenneth Edward <KSexauer@mofo.com>
Sent: Tuesday, June 25, 2024 6:17 PM
To: Alex Frawley <AFrawley@susmangodfrey.com>; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com
Subject: RE: NYT v. Microsoft et al.
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EXTERNAL Email
Counsel:

I write to address the remaining questions in your June 14 correspondence regarding search terms.
 While we don’t believe we are obligated to provide all of the information you seek, we are doing so
as a matter of professional courtesy.

First, OpenAI has already identified the custodians most likely to have responsive information.
Plaintiff has not demonstrated good cause for the addition of more custodians. OpenAI is already
over the 10-custodian limit that the parties agreed would govern in the absence of a court order.
And per paragraph 4 of OpenAI’s proposed ESI order, unless and until the Plaintiff shows good cause
to add a custodian (or OpenAI agrees to add a custodian), there is no obligation triggered under
paragraph 5. OpenAI therefore respectfully declines The Times’ request that the search terms be
run on additional custodians.

Second, as a general matter, the responsive communications OpenAI has produced are sufficient to
show which OpenAI personnel have knowledge regarding OpenAI’s text generation AI models and
related business matters. Moreover, additional documents responsive to RFP 10 will be produced in
due course.

Third, the hit counts in the reports are derived from Slack and G Suite hits. OpenAI has not limited its
searches or hit reports by type of document.

Fourth, OpenAI has collected documents from the earliest timeframe possible for each custodian. If
we plan to limit searches by timeframe going forward for some reason or for particular requests, we
will let you know. We reserve the right to do so, as OpenAI is not obligated to search for and
produce all documents that hit on any search term without regard to time period.

Finally, please provide information regarding what repositories the Times is applying its search
terms to, including whether it includes Slack, and what timeframe the Times is searching.

Best,
Ken



From: Sexauer, Kenneth Edward
Sent: Thursday, June 20, 2024 9:27 AM
To: 'Alex Frawley' <AFrawley@susmangodfrey.com>; KVP-OAI <KVPOAI@keker.com>;
openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright <OpenAICopyright@mofo.com>;
NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-Microsoft-FDBR <NewYorkTimes-
Microsoft-FDBR@faegredrinker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com
Subject: RE: NYT v. Microsoft et al.
Case 1:23-cv-11195-SHS-OTW              Document 205-1          Filed 08/12/24      Page 12 of 14


Counsel:

A partial search term hit report for The New York Times’ proposed terms is attached. Eight of the
terms could not be run in our system because the leading wildcard for "*AI*" and trailing wildcard
for "generative a*" caused too many index matches, which triggered an error in the system. The
attached report reflects the hits based on the proposed terms, minus the terms that could not be
run on our system, on the same universe of documents OpenAI ran its terms, and excluding
documents already reviewed by OpenAI. Even without the error-inducing terms and the already-
reviewed documents, the proposed terms yielded over 2 million novel hits including families. Review
of such a large number of terms would be overly burdensome and disproportionate to the needs of
the case. Accordingly, OpenAI rejects the proposal and requests that Plaintiff propose a narrower set
of terms.

We will respond to your other questions in due course.

Best,
Ken

Ken Sexauer
Associate
ksexauer@mofo.com
T: +1 (212) 336-4090




mofo.com | LinkedIn | Twitter




From: Alex Frawley <AFrawley@susmangodfrey.com>
Sent: Friday, June 14, 2024 9:43 PM
To: KVP-OAI <KVPOAI@keker.com>; openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright
<OpenAICopyright@mofo.com>; NewYorkTimes_Microsoft_OHS@orrick.com; #NewYorkTimes-
Microsoft-FDBR <NewYorkTimes-Microsoft-FDBR@faegredrinker.com>
Cc: NYT-AI-SG-Service@simplelists.susmangodfrey.com
Subject: NYT v. Microsoft et al.


External Email




Counsel,

Attached please find The Times’s counter-proposal for search terms to be run on OpenAI’s
custodians’ ESI. This proposal also includes The Times’s request for additional OpenAI
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custodians. The Times reserves the right to propose additional search terms and custodians,
including based on its review of OpenAI’s recent and forthcoming document productions.

We also have a few questions. First, can you please let us know if OpenAI has already made
its document production in response to RFP 10 and if so, can you please identify the bates
number(s)? Second, for the hit counts you provided to us, can you please clarify whether those
hit counts cover all types of documents (e.g., emails, chats, presentations, etc) or, alternatively,
whether the hit counts only cover certain categories of documents? Finally, did OpenAI apply
a particular timeframe for its investigation and production of documents in response to these
RFPs?

Thank you.

Best,
Alex

Alexander P. Frawley | Susman Godfrey LLP
One Manhattan West, 50th Floor | New York, NY 10001
212.729.2044 (office) | 917.599.6613 (cell)
afrawley@susmangodfrey.com | www.susmangodfrey.com


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u=fIGOkiG8u2jiaPQ0BbCXTK2YLSBMieHZ
